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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                        STATESBORO DIVISION

LAWRENCE M. DRAYTON,

      Movant,

v.                                               Case No. CV615-036
                                                          CR612-018
UNITED STATES OF AMERICA,

      Respondent.

                                       ORDER
      Let a copy of this Report and Recommendation be served upon counsel for
the parties. Any objections to this Report and Recommendation must be filed
with the Clerk of Court not later than May 23, 2016. The Clerk shall submit this
Report and Recommendation together with any objections to the Honorable Lisa
Godbey Wood, Chief Judge, on May 24, 2016. Failure to file an objection within
the specified time means that this Report and Recommendation may become the
opinion and order of the Court, Nettles v. Wainwright, 677 F.2d 404 (5th Cir.
1982), and further waives the right to appeal the District Court's Order. Thomas
v. Arn, 474 U.S. 140 (1985).
      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the District
Judge to whom this case is assigned.
      SO ORDERED this 9th day of May, 2016.


                                                   UNIILD SlATES MAGISTRATE JUDGE
                                                   SOUTHERN DISTRICT OF GEORGIA
